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                                                  United States Bankruptcy Court
                                                              District of Massachusetts                                                                              Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
  Sabet, Wally M


All Other Names used by the Debtor in the last 8 years                                                        All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                   (include married, maiden, and trade names):
  AKA Walid M Sabet; AKA Waled M Sabet; DBA Wally's
  Auto World


Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                                 (if more than one, state all)
  xxx-xx-0239
Street Address of Debtor (No. and Street, City, and State):                                                   Street Address of Joint Debtor (No. and Street, City, and State):
  297 Andover Street
  North Andover, MA
                                                                                             ZIP Code                                                                                        ZIP Code
                                                                                           01845
County of Residence or of the Principal Place of Business:                                                    County of Residence or of the Principal Place of Business:
  Essex
Mailing Address of Debtor (if different from street address):                                                 Mailing Address of Joint Debtor (if different from street address):


                                                                                             ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                         Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                                 (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                              Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                            Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                              Chapter 9
     Corporation (includes LLC and LLP)                               in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                              Chapter 11
     Partnership                                                      Railroad
                                                                                                                              Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,               Stockbroker
                                                                                                                              Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                  Commodity Broker
                                                                      Clearing Bank
                                                                      Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                             Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                            (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                      Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                         under Title 26 of the United States                    "incurred by an individual primarily for
                                                                      Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                      Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                        Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must               Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                     Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                     are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                                Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                    A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                     in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-         1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999          5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001     $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1        to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million      million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001     $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1        to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million      million      million        million       million
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                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Sabet, Wally M
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Kenneth P. Doherty                            December 10, 2013
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Kenneth P. Doherty 556806

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Sabet, Wally M
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Wally M Sabet                                                                    X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Wally M Sabet

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     December 10, 2013
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Kenneth P. Doherty
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Kenneth P. Doherty 556806                                                                debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Henry T. Doherty Jr P.C.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      73A Winthrop Avenue
      Lawrence, MA 01843                                                                       Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                                Email: ken@dohertylaw.net
      (978) 687-7700 Fax: (978) 688-7351
     Telephone Number
     December 10, 2013
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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                      Acme Waste Systems, Inc.
                      PO Box 479
                      Wilmington, MA 01887

                      AIG Federal Savings Bank
                      Aig Federal Savings Bank
                      Po Box 8733
                      Wilmington, DE 19899

                      American Express
                      PO Box 1270
                      Newark, NJ 07101-1270

                      Autotrader
                      3003 Summit Blvd. A-200
                      Atlanta, GA 30319

                      Bank Of America
                      Po Box 982235
                      El Paso, TX 79998

                      Blue Cross Blue Shield
                      401 Park Drive
                      Boston, MA 02215-3326

                      Cap1/bstby
                      PO Box 183195
                      Columbus, OH 43218-3195

                      CarGurus LLC
                      One Bow St, 4th Fl
                      Cambridge, MA 02138

                      Carsforsale.com, Inc.
                      PO Box 91537
                      Sioux Falls, SD 57109

                      Citibank Usa
                      Citicorp Credit Services/Attn:Centralize
                      Po Box 20507
                      Kansas City, MO 64195

                      Citimortgage Inc
                      Po Box 9438,dept 0251
                      Gaithersburg, MD 20898

                      Citizens Bank
                      PO Box 18204
                      Bridgeport, CT 06601-3204

                      Citizens Bank
                      PO Box 42115
                      Providence, RI 02940-2115
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                  Commerce Insurance
                  11 Gore Rd
                  Webster, MA 01570

                  Commonwealth of Massachusetts


                  Dealer Car Search
                  221 S Hurstbourne Pky, Ste 101
                  Louisville, KY 40222

                  Dealer Specialties
                  325 Knox Road Bldg L-200
                  Tallahassee, FL 32303

                  Deetto Card Services
                  PO Box 3997
                  Saint Joseph, MO 64503-1600

                  DER Realty
                  c/o Ray Nickerson
                  2195 Main Street
                  Tewksbury, MA 01876

                  Dsnb Macys
                  9111 Duke Blvd
                  Mason, OH 45040

                  Elan Financial Service
                  777 E Wisconsin Ave
                  Milwaukee, WI 53202

                  GECRB/ HH Gregg
                  Attention: Bankruptcy
                  Po Box 103104
                  Roswell, GA 30076

                  Gecrb/Care Credit
                  Attn: bankruptcy
                  Po Box 103104
                  Roswell, GA 30076

                  Gecrb/sleepys
                  Po Box 981439
                  El Paso, TX 79998

                  GetAuto
                  325 John Knox Rd, Bldg. L-200
                  Tallahassee, FL 32303

                  JP Morgan Chase
                  PO Box 15298
                  Wilmington, DE 19850-5123
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                  L&M Radiology, Inc
                  Brian Murphy MD c/o Merrimack Imaging
                  500 Merrimack Street
                  Lawrence, MA 01843

                  Lawrence General Hospital
                  One General Street
                  Lawrence, MA 01842

                  Methuen Glass
                  468 Merrimack St
                  Methuen, MA 01844

                  Metro Credit Uni
                  200 Revere Beach P
                  Chelsea, MA 02150

                  Metropolitan Credit Un
                  200 Revere Beach Pkwy
                  Chelsea, MA 02150

                  Mojo Motors
                  150 W 30th St
                  Suite 1200
                  New York, NY 10001

                  National Credit Center, Inc.
                  PO Box 740285
                  Los Angeles, CA 90074-0285

                  National Grid
                  PO Box 1040
                  Northborough, MA 01532-4040

                  NextGear Capital, Inc.
                  1320 City Center Drive, Ste 100
                  Carmel, IN 46032

                  Pulsar Alarm Systems, LTD
                  4 Wilder Dr. Unit 11
                  PO Box 867
                  Plaistow, NH 03865

                  Shamrock Finance LLC
                  c/o Kimberlee Nauges
                  141 Wood Rd, Ste 200
                  Braintree, MA 02184

                  Sovereign Bank
                  1130 Berkshire Blvd
                  Reading, PA 19610

                  Springleaf Financial S
                  Po Box 969
                  Evansville, IN 47706
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                  Sst/columbus Bank&trus
                  Attn:Bankruptcy
                  Po Box 3997
                  St. Joseph, MO 64503

                  Town of Tewksbury
                  Treasurer-Collector
                  11 Town Hall Avenue
                  Tewksbury, MA 01876-4733

                  Utica National Insurance Group
                  PO Box 6532
                  Utica, NY 13504-6532

                  Vehix.com
                  c/o Szabo Associates, Inc
                  3355 Lenox Rd NE #945
                  Atlanta, GA 30326

                  Wells Fargo Business Direct
                  PO Box 348750
                  Sacramento, CA 95834

                  Wells Fargo Financial Nat'l Bk/Bobs Disc
                  Po Box 10438
                  Des Moines, IA 50306

                  Workers Credit Union
                  815 Main St
                  Fitchburg, MA 01420

                  Workers Credit Union
                  Cardmember Service
                  PO Box 6335
                  Fargo, ND 58125-6335
